 Case: 5:16-cv-00429-JMH Doc #: 23 Filed: 06/14/18 Page: 1 of 2 - Page ID#: 191




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                               LEXINGTON DIVISION

                                   ELECTRONICALLY FILED

KENNETH POTTER,

                      Plaintiff,
v.

UNIFUND CCR PARTNERS                                     Case 5:16-CV-00429-JMH
assumed name for CREDIT CARD
RECEIVABLES FUND, INC.
ZB LIMITED PARTNERSHIP, and
MICHAEL J. KEENEY

            Defendants.
___________________________________)

               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff, Kenneth Potter, and

Defendants, Unifund CCR Partners and Michael J. Keeney (collectively, “Defendants”), hereby

jointly request that this Court dismiss Plaintiff’s claims against Defendants with prejudice. The

parties shall bear their own costs and fees, unless otherwise specified in the Class Action

Settlement Agreement approved in Joseph L. Islas v. First Resolution Investment Corp., et al.,

Case No. 1:16-cv-141-GNS, United States District Court for the Western District of Kentucky.

       This the 14th day of June, 2018.

       Respectfully submitted,                           Respectfully submitted,

       /s/ James R. McKenzie (w/ permission)             /s/ R. Brooks Herrick
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 Case: 5:16-cv-00429-JMH Doc #: 23 Filed: 06/14/18 Page: 2 of 2 - Page ID#: 192




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        Counsel for Plaintiff

                                   CERTIFICATE OF SERVICE

       I hereby certify that the foregoing has been served this 14th day of June, 2018, using the
Court’s ECF system to the following.

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